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                             IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF DELAWARE


BELDEN TECHNOLOGIES, INC. and
BELDEN CDT (CANADA) INC.,

                    Plaintiffs,
             v.                                      Civil Action No. 08-063-SLR
SUPERIOR ESSEX INC. and
SUPERIOR ESSEX COMMUNICATIONS LP,

                    Defendants.


                                    JOINT PROPOSED VOIR DIRE


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Belden CDT (Canada) Inc.


Dated: August 20, 2010




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          Belden Technologies, Inc. and Belden CDT (Canada) Inc. (collectively,

  “Belden”) and Superior Essex Inc. and Superior Essex Communications LP (collectively,

  “Superior Essex”) believe use of the questionnaire (attached hereto as Exhibit A) will

  significantly streamline the voir dire process and, therefore, respectfully request that the

  Court approve use of this questionnaire. The questionnaire largely will constitute voir

  dire, with the exception that each party may select three members of the panel to whom

  follow-up questions may be addressed in court. Excuses for cause will be based on this

  questionnaire and review of the limited follow-up voir dire.

                          Joint Proposed Voir Dire To Jury Panel

          Good morning, ladies and gentlemen. I am Judge Robinson and I will be

  presiding over the trial for which a jury is about to be drawn in the case where Belden

  Technologies, Inc. and Belden CDT (Canada) Inc. are the plaintiffs, and Superior Essex,

  Inc. and Superior Essex Communications LP are the defendants. Briefly stated, this is a

  patent action arising under the patent laws of the United States.

          The trial may last through September 15, 2010. I time my civil trials, so the

  attorneys have to complete their trial presentations within the schedule I've given them.

  However, jury deliberations may require you to be present longer than the scheduled

  September 15th end date. Most trial days will run approximately from 9:30 a.m. to 4:30

  p.m.

          You all have completed questionnaires which the attorneys and I have reviewed.

  Based on your responses, we will be calling some of you, by juror number, to come

  forward to talk to you about your responses. If any of you have anything of import to add

  to your questionnaire responses, please get the attention of my staff so we can decide

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  whether we want to talk to you as well. When we have finished talking to you, the

  lawyers and I will decide who among you should be excused for cause. After that, 19

  juror numbers will be randomly drawn and those jurors will be asked to sit in the front

  two rows of the opposite side of the courtroom, so that the lawyers can exercise their

  peremptory challenges, that is, challenges for which no reason need be given by counsel.

  It may take us some time to accomplish jury selection, so please bear with us.




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